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                    IN THE UNITED STATES DISTIRCT COURT
                       FOR THE DISTRICT OF DELAWARE

36 BUILDERS, INC., a Delaware corporation,    )
doing business as INSIGHT HOMES, and          )
INSIGHT LAND COMPANY, LLC, a                  )
Delaware limited liability company,           )
                                              )      C.A. No. 20-cv-1669-MN
                    Plaintiffs,               )
                                              )
             v.                               )
                                              )
JACK HUTCHINS HAESE,                          )
                                              )
                    Defendant.                )

               DEFENDANT'S ANSWERING BRIEF IN OPPOSITION
             TO PLAINTIFF'S MOTION TO DISMISS COUNTERCLAIM

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January 21, 2021
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                      NATURE AND STAGE OF THE PROCEEDINGS

       Plaintiff, 36 Builders, Inc., d/b/a Insight Homes ("Plaintiff" or "Insight Homes") has set

forth the nature and stage of the proceedings in its Opening Brief. Defendant, Jack Hutchins Haese

("Defendant" or "Haese") has filed this Answering Brief in Opposition to Plaintiff's Motion to

Dismiss Counterclaim for failure to state a claim filed pursuant to Fed. R. Civ. P. 12(b)(6).




                                 SUMMARY OF ARGUMENT

       Haese's Counterclaim adequately alleges sufficient facts to state a claim upon which relief

can be granted and is not subject to dismissal under the standard applicable to Fed. R. Civ. P.

12(b)(6).

       1. Haese sufficiently alleges one or more "violations" within the scope of the DWPA; and

       2. Haese adequately alleges facts that Plaintiff took actionable adverse employment action

against him because of his Whistleblower activity.




                                   STATEMENT OF FACTS

       Defendant, Jack Hutchins Haese ("Defendant" or "Haese"), has asserted a Counterclaim

against Plaintiff, 36 Builders, Inc. d/b/a Insight Homes ("Plaintiff" or "Insight Homes") under the

Delaware Whistleblowers' Protection Act ("DWPA"), 19 Del. C. §§ 1701–1708 (D.I. 3, ¶ 42–59).

Plaintiff has filed a Motion to Dismiss for failure to state a claim, pursuant to Fed. R. Civ. P.

12(b)(6) (D.I. 4), and an Opening Brief in support (D.I. 5). The facts pertaining to the Counterclaim

are set out in Haese's Counterclaim.


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         While Plaintiff has set forth the basic facts in its Opening Brief, several of its assertions

are untrue. For example, contrary to Plaintiff's description of Haese's Employment Contract to

include having authority for managing land contracting activities (Opening Brief at 4), his

responsibilities in the land development area were only financial in nature.

         Throughout Plaintiff's Statement of Facts in its Opening Brief, rather than focusing on the

facts alleged by Haese in his Counterclaim, Plaintiff sets forth various allegations not set forth in

the Counterclaim. None of these "omissions", however, is necessary to state the claim raised in the

Counterclaim. Moreover, as is typical, more facts will be provided following discovery, which will

further establish the claim raised. Some of these so-called omissions, however, are addressed

below.

         In referring to Haese's allegations in his Counterclaim concerning his arrangement of

financing, Plaintiff asserts that the Counterclaim "fails to describe at all the 'financing' that Haese

has 'arranged'." (Opening Brief at 4). While such facts are not necessary to his Counterclaim, Haese

can easily list the financing he arranged, and the documentation will be provided at discovery

through document requests in Interrogatories. Further, it was after many of the loans arranged by

Haese were closed that his Manager, Robert M. Lisle, started false reporting. The more blatant

false reporting did not start until after Paula Sachs was hired by Plaintiff as Chief Financial Officer

and Director of Financial Reporting.

         Plaintiff asserts that the Counterclaim "does not identify any specific trade creditor, or the

particular amount or amounts that were in arrears as of the fall of 2017 (except to contend it was

in the millions)." (Opening Brief at 5). Haese's allegations will be established through discovery

of Plaintiff's financial statements, payables, reports, etc., and through the testimony of Amy

Cavallini, the Comptroller for Plaintiff.



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       Plaintiff asserts that the Counterclaim "does not allege that Insight homes' failure to remain

current or trade receivables was materially inconsistent with or a substantial deviation from any

applicable accounting standard or law." (Opening Brief at 5). The violation of Delaware law of

falsely alleging that all of the payables on a specific house were "paid in full" by sworn statement,

will be established by Haese.

       Plaintiff asserts that "Haese does not allege that the purported contact from the Delaware

Attorney General's Office had anything to do with his job responsibilities or that he made any

complaint … [and] does not allege anything concerning the nature of the 'plea agreement' or the

'false and misleading advertising' that are the subject of his allegations." (Opening Brief at 5). If

the criminal case is not sealed, Haese will obtain more information from the State about that matter.

Moreover, that matter, which involved more reckless and fraudulent activity, was potentially

damaging to Haese's reputation and responsibility as Chief Financial Officer, particularly by

Plaintiff asking that he just put up with such activity. Thus, such activity did affect Haese's job.

       Plaintiff asserts that "Haese nowhere in his Counterclaim asserts that the purported 'false

and misleading advertising' referenced in the Counterclaim related to financial management or

accounting standards" (Opening Brief at 6). The AICPA (American Institute of Certified Public

Accountants) Code of Conduct, however, establishes standards for auditor independence, integrity

and objectivity, and can be violated by unethical or illegal conduct by an employer that is not

necessarily directly related to financial management or accounting standards, per se, but still

affects such areas.

       Plaintiff asserts that the Counterclaim does not allege who specifically "introduced" Paula

Sachs as the new Chief Financial Officer and Director of Financial Reporting for Plaintiff

(Opening Brief at 6), but Haese will show that Lisle introduced her by an email which will be



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obtained in discovery. While the Counterclaim fails to allege a specific date of the hiring of Paula

Sachs (Opening Brief at 7), this date will be obtained in discovery, and is believed to be in late

February of 2018.

       In reference to the Counterclaim failing to specify what "supervisors" Haese confronted

about the issues he raised about Plaintiff's violators (Opening Brief at 7), Haese will show he

reported his concerns to Lisle and Sachs.

       Finally, in Plaintiff's last paragraph in its Statement of Facts, Plaintiff asserts that "the

Counterclaim lacks even conclusory allegations of fact that would support any inference that Haese

was 'constructively discharged' or 'threatened in any way'" by Plaintiff. (Opening Brief at 8). It is

clear, however, that Haese's livelihood as a CFO was threatened by being asked to be complicit in

violations of law, such as false and misleading financial reporting, and the corporation's engaging

in reckless advertising techniques. Such conduct could destroy Haese's personal relationship with

his banking and investor contacts, upon which relationship their trust in his effectiveness as a CFO

and a professional was based. In addition to other threatening and discriminatory conduct by

Plaintiff, as outlined in the Counterclaim, the wrongful conduct by Plaintiff, reported by Haese,

thus forced Haese to resign and constituted threatening and discriminatory conduct against Haese.




                                            ARGUMENT

       DEFENDANT'S COUNTERCLAIM STATES A CLAIM FOR RELIEF UNDER THE

DWPA AND IS NOT SUBJECT TO DISMISSAL UNDER FED. R. CIV. P. 12(b)(6)

       When considering a Rule 12(b)(6) motion to dismiss, the court must accept as true all

factual allegations in the complaint and view in the light most favorable to the plaintiff. Connelly

v. Lane Const. Corp., 809 F.3d 780, 790–91 (3d Cir. 2016); Nederland Shipping Corp. v. United

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States. A complaint may not be dismissed merely because it appears unlikely that the plaintiff can

prove those facts or will ultimately prevail on the merits. Pittsburgh Mack Sales & Serv., Inc. v.

Int'l Union of Operating Engineers, Local Union No. 66, 580 F.3d 185, 192 (3d Cir. 2009). A

12(b)(6) motion should be granted only if, accepting as true the facts alleged and all reasonable

inferences that can be drawn therefrom, there is no reasonable reading upon which the plaintiff

may be entitled to relief. Mid-American Salt, LLC v. Morris County Cooperative Pricing Council,

964 F.3d 218, 226 (3d Cir. 2020); see Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007).

Detailed factual allegations are not required, although it must provide more that labels and

conclusions. Davis v. Abington Mem'l Hosp., 765 F.3d 236, 241 (3d Cir. 2014). A complaint may

not be dismissed "for imperfect statement of the legal theory supporting the claim." See Johnson

v. City of Shelby, Miss., 574 U.S. 10, 11 (2014).

       To state a claim upon which relief must be granted, a complaint must contain "a short and

plain statement of the claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8(A)(2).

Detailed factual allegations are not required, but the complaint must set forth enough factual

matter, accepted as true, to "state a claim to relief that is plausible on its face." Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). The issue on a motion to dismiss for failure to state a claim

is not whether the plaintiff will ultimately prevail but whether the claimant is entitled to offer

evidence to support the claims. LKQ Corp. v. United States Department of Homeland Security,

369 F. Supp. 3d 577, 583 (D. Del. 2019). This does not impose a probability requirement at the

pleading stage, but instead simply calls for enough facts to raise a reasonable expectation that

discovery will reveal evidence of the necessary element. Astrazeneca AB v. Dr. Reddy's

Laboratories, 209 F. Supp. 3d 744, 752 (D. Del. 2016); see LKQ Corp. v. United States

Department of Homeland Security, 369 F. Supp. 3d at 583.



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       Under the foregoing standard, Defendant's Counterclaim is clearly sufficient to state a

claim under the DWPA, and Plaintiff's argument to the contrary is without merit.

       I.      THE COUNTERCLAIM SUFFICIENTLY ALLEGES A PREDICATE
               VIOLATION UNDER THE DWPA
       Contrary to Plaintiff's contention, Haese's Counterclaim sufficiently alleges violations

within the scope of the DWPA. Section 1703 of the DWPA provides as follows:

       An employer shall not discharge, threaten, or otherwise discriminate against an employee
       regarding the employee's compensation, terms, conditions, location, or privileges of
       employment:

               (1) Because the employee, or a person acting on behalf of the employee, reports or
               is about to report to a public body, verbally or in writing, a violation which the
               employee knows or reasonably believes has occurred or is about to occur, unless
               the employee knows or has reason to know that the report is false; or

               (2) Because an employee participates or is requested by a public body to participate
               in an investigation, hearing, or inquiry held by that public body, or a court action,
               in connection with a violation as defined in this chapter; or

               (3) Because an employee refuses to commit or assist in the commission of a
               violation, as defined in this chapter; or

               (4) Because the employee reports verbally or in writing to the employer or to the
               employee's supervisor a violation, which the employee knows or reasonably
               believes has occurred or is about to occur, unless the employee knows or has reason
               to know that the report is false. Provided, however that if the report is verbally
               made, the employee must establish by clear and convincing evidence that such
               report was made; or

               (5) Because an employee reports or is about to report to a public body, to the
               employer or the employee's supervisor, verbally or in writing any noncompliance
               or an infraction which the employee knows or reasonably believes has occurred or
               is about to occur, of Chapter 80 of Title 15 unless the employee knows or has reason
               to believe the report is false; or participates or is requested to participate in an
               investigation, hearing, trial or inquiry, of a person or entity other than employee,
               regarding noncompliance or an infraction of Chapter 80 of Title 15; or refuses to
               participate or assist in the noncompliance or an infraction of Chapter 80 of Title 15.

19 Del. C. § 1703 (emphasis added). "The DWPA prohibits an employer from discharging or

otherwise discriminating against an employee for reporting a 'violation' to the employer or to the

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employer's supervisor, which he/she 'knows or reasonably believes has occurred or is about to

occur'." Chance v. Kraft Heinz Foods Co., No. CV K18C-01-056 NEP, 2018 WL 6655670, at *10

(Del. Super. Ct. Dec. 17, 2018) (footnote omitted; quoting 19 Del. C. §§ 1703(1) and (4).

       The elements of a prima facie case of a violation of the DWPA are as follows:

       (1) the employee engaged in a protected whistleblowing activity; (2) the accused official
       knew of the protected activity; (3) the employee suffered an adverse employment action;
       and (4) there is a casual connection between the whistleblowing activity and the adverse
       action.

Chance, 2018 WL 6655670, at *10 (footnotes omitted).

       "Violation" is defined in 19 Del. C. § 1702(6) as follows:

       (6) "Violation" means an act or omission by an employer, or an agent thereof, that is:

               a. Materially inconsistent with, and a serious deviation from, standards
               implemented pursuant to a law, rule, or regulation promulgated under the laws of
               this State, a political subdivision of this State, or the United States, to protect
               employees or other persons from health, safety, or environmental hazards while on
               the employer's premises or elsewhere; or

               b. Materially inconsistent with, and a serious deviation from, financial management
               or accounting standards implemented pursuant to a rule or regulation promulgated
               by the employer of a law, rule, or regulation promulgated under the laws of this
               State, a political subdivision of this State, or the United States, to protect any person
               from fraud, deceit, or misappropriation of public or private funds or assets under
               the control of the employer.

(emphasis added). As set forth in § 1702(6)(b), a "violation does not only mean a violation of a

law, rule, or regulation, but also a violation of "financial management or accounting standard." As

explained in Pratt v. M & T Bank Corp., 230 F. Supp. 3d 343, 346–47 (D. Del. 2017), such

financial management standards refer to "regulations and rules that describe how a business should

manage its finances." "For example," as the court in Pratt notes, "the federal government has

'financial management standards' that apply to recipients of federal grants." Id. at 347. The court

continued: "Accounting standards are similar, although focused or the measurement and



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categorization of the business's finances. The U.S. Generally Accepted Accounting Principles are

an example of accounting standards." Id.

        Here, Plaintiff first contends that the "violations" alleged in Haese's Counterclaim do not

fall within the scope of a claim under the DWPA as set forth above. Although acknowledging that

the Counterclaim specifically alleges that Plaintiff violated the Delaware Prompt Pay Statute, 6

Del. C. § 3504, Plaintiff contends that the Counterclaim lacks an allegation as to specific amounts

owed by Plaintiff or to whom owed. Such specifics, however, are not required to state a claim. In

Chance, the defendant moved for dismissal on the ground that the plaintiff failed to plead facts

showing which law, rule, or regulation he believed had been violated in connection with the unsafe

condition of the railroad ties in the defendant's railroad yard. 2018 WL 6655670, at *1, 10. The

court held that although the plaintiff did not "identify any concrete 'violation' of the law within the

meaning of the DWPA", that was no basis for dismissal at the early stage of the action "when

Plaintiff has alleged that the condition of the rails violates the UFC [United Facilities Criteria]

standards and when Plaintiff has not had the opportunity to conduct discovery or support his

allegation as to whether the condition of the rail ties did, in fact, constitute a violation under state

or federal law." Id. at *11. As the court stated, "[p]laintiff's allegations must be accepted as true

until such time as the factual second is more developed." Id.

        So, too, here, as discussed in the Statement of Facts, Haese will more fully set out the facts

through discovery, so as to more specifically establish the violations. At this early stage, however,

such specifics are not required to sufficiently state a claim for purposes of Rule 12(b)(6).

Moreover, a violation of 6 Del. C. § 3504 clearly involves "financial management or accounting

standards implemented…to protect any person from fraud, deceit, or misappropriation of public




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or private funds or assets under the control of the employer." 19 Del. C. § 1702(6)(b). Therefore,

such violation falls within the scope of the DWPA.

       Similarly, the Counterclaim alleges several other "violations" under the DWPA which

Haese reported to his employer or to his supervisor. These include actions by Plaintiff involving

the depletion of balances in the Maryland Escrow accounts and the moving of the cash from those

accounts into the general operating account, which Haese reported was a violation of law (D.I. 3 ¶

51). While this latter alleged violation involved Maryland accounts, the alleged violation of law

was not necessarily only one of Maryland law, but could also be a violation of Delaware or federal

law. In addition, Haese alleges that Defendant violated Delaware law pertaining to false and

misleading advertising, and that, in fact, Defendant admitted guilt pursuant to a plea agreement

and paid a substantial fine. (D.I. 3 ¶ 49). As briefly discussed in the Statement of Facts, the false

and misleading advertising can also involve financial management or accounting standards

implemented to protect persons from fraud, deceit, or misappropriation of funds or assets under

the control of the employer, as set forth in 19 Del. C. § 1702(6)(b).

       The Counterclaim further alleges that Haese became "increasingly concerned over the

financial position of [Defendant] and related entities which were carrying millions in past due

payables, some exceeding 90 days. Haese and the accounting staff with which he worked daily

endured countless phone calls from trade payable accounts, asking for the accounts to be brough

current." (D.I. 3 ¶ 47). On their face, these allegations also pertain to violations defined in 19 Del.

C. § 1702(6)(b).

       As the holding in Chance makes clear, any failure to more specifically identify particular

laws, rules, or regulations that were allegedly violated is not a basis for dismissal. As in Chance,

Haese has made sufficient allegations of "violations" as defined in 19 Del. C. § 1702 to overcome



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a motion to dismiss. As in Chance, Haese has not yet had the opportunity to conduct discovery

and further support his allegations of "violations", and thus should not be required to more

specifically identify a specific statute, rule, or regulation at this early stage of the proceeding. See

Chance, 2018 WL 6655670, at *11.

       Therefore, Plaintiff's first basis for dismissal is without merit.

       II.     THE COUNTERCLAIM SUFFICIENTLY ALLEGES CONSTRUCTIVE
               DISCHARGE, THREATS, OR DISCRIMINATORY TREATMENT OF
               HAESE BY PLAINTIFF THAT WERE CAUSED BY HAESE'S
               WHISTLEBLOWER ACTIVITIES
       Plaintiff contends that the Counterclaim should be dismissed because it fails to adequately

allege the requisite adverse employment action or that Haese's reporting of violations constitute

the "primary basis" for the adverse employment actions. These conditions are without merit.

       The DWPA prohibits the employer from discharging, threatening, or otherwise

discriminating against an employee regarding the employee's compensation, terms, conditions,

location, or privileges of employment, because of the employee's Whistleblower activity. 19 Del.

C. § 1703. Haese's Counterclaim specifically alleges that he suffered the foregoing adverse

consequences because of his Whistleblower activity. The Counterclaim alleges that shortly after

Haese informed his employer (or a supervisor of Haese) of alleged violations, Paula Sachs, a friend

of Lisle's, was introduced as the new Chief Financial Officer and Director of Financial Reporting

for Defendant. (D.I. 3 ¶ 52). Haese then was deprived of access to any of the computer records

despite his responsibility for various accounts under his Employment Agreement. (D.I. 3 ¶ 52).

After confronting Lisle about this, Haese was instructed to focus on other matters, which

diminished his duties. (D.I. 3 ¶'s 54–55). Then, Haese again confronted his supervisors with issues

pertaining to violations and refused to sign further closing certifications he knew to be false. (D.I.

3 ¶ 55). Finally, the Counterclaim alleges that "[i]n light of his concerns over repeated violations

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of law and his diminished duties upon refusal to cooperate in such violations, Haese resigned…"

(D.I. 3 ¶ 56).

        An employee who is constructively discharged can pursue a claim under the DWPA, on

the same basis as if he had been formally discharged. Smith v. Delaware State University, 47 A.3d

472, 477 (Del. 2012). To prevail on a claim of constructive discharge, employee must show

working conditions so intolerable that a reasonable person would have felt compelled to resign.

Id. Here, Haese alleges that his duties were diminished after his protected Whistleblowing

activities, that he was denied access to any computer records despite his responsibility for various

accounts, that he had to refuse to cooperate in the wrongdoing, and that in light of theses

circumstances and violations, he was forced to resign. While Haese does not specifically use the

term "intolerable conditions", he alleges sufficient facts for a claim of constructive discharge.

Further, his allegations of diminished responsibilities and refusal to cooperate in wrongdoing, are

sufficient to allege being threated or otherwise discriminated against under the DWPA. A

complaint may not be dismissed for imperfect statement of the legal theory supporting the Claim.

See Johnson v. City of Shelby, 574 U.S. at 11. Also, again, detailed factual allegations are not

required, Davis v. Abington Mem'l Hosp., 765 F.3d at 241, and a complaint may not be dismissed

merely because it appears unlikely that the plaintiff will ultimately prevail on the merits. Pittsburgh

Mack Sales & Services, Inc., 580 F.2d at 192. Thus, Haese has sufficiently alleged adverse

employment consequences under the DWPA, including constructive discharge.

        Plaintiff lastly contends that Haese has not fairly alleged facts from which the Court could

infer that Haese's Whistleblower activities constituted the "primary basis" for Plaintiff's

employment actions. Pursuant to 19 Del. C. § 1708 the employee has the "burden of proof…to

show that the primary basis for the discharge, threats, or discrimination alleged to be in violation



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of this chapter was that the employee undertook an act protected pursuant to § 1703 of this title."

As § 1708 expressly states, this section pertains to "burden of proof", not to the sufficiency of the

allegations. The Counterclaim sufficiently alleges that Haese was constructively discharged,

threatened, and otherwise discriminated against because of his protected Whistleblowing

activities. It will be his burden of proof at trial to establish that his protected activities were the

primary basis for Plaintiff's discharge, threats, or discrimination. At this stage, however, Haese has

sufficiently stated a claim under the DWPA. Therefore, Plaintiff's motion to dismiss should be

denied.

          Finally, should the court for some reason deem the Counterclaim insufficient in any

respect, Haese requests leave to amend. It is well settled that if a complaint is vulnerable to 12(b)(6)

dismissal, a district court must permit a curative amendment, unless an amendment would be

inequitable or futile. Travelers Indem. Co. v. Dammann & Co., Inc., 515 F.3d 238, 256 n. 14 (3d

Cir. 2010). Leave to amend should be granted freely in the absence of undue delay or bad faith as

long as the amendment would not be futile, and the opposing party would not suffer undue

prejudice. Foman v. Davis, 371 U.S. 178, 182 (1962); United States ex rel. Customs Fraud

Investigations, LLC v. Victaulic Co., 839 F.3d 242, 249–52 (3d Cir. 2016); see Fed. R. Civ. P.

15(a)(2). Although the grant or denial of an opportunity to amend is within the discretion of the

District Court, that discretion is abused if it is exercised without giving the plaintiff sufficient

opportunity to make his case. United States ex rel. Customs Fraud Investigations, LLC v. Victaulic

Co., 839 F.3d at 249. In accordance with the principles, the court should grant Plaintiff leave to

amend should it, for some reason, find the Counterclaim difficult. Plaintiff, however, contends that

the Counterclaim adequately alleges facts sufficient to state a claim under the DWPA.




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                                         CONCLUSION

       For all the foregoing reasons, Defendant requests that Plaintiff's Motion to Dismiss be

denied. In the alternative, should the Court for some reason deem the Counterclaim deficient, it

should grant Defendant leave to amend.

                                            Respectfully submitted,

                                            _______________________________________
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January 21, 2021




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                               CERTIFICATE OF SERVICE

       I, Stephen P. Norman, hereby certify that on January 8, 2021, I caused a copy of the

attached document to be served upon the following counsel of record via CM/ECF:



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222 Delaware Avenue; Ste. 1410
Wilmington, DE 19801

                                                    /s/ Stephen P. Norman
                                                    Stephen P. Norman (No. 4620)


January 21, 2021




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